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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


CHASITY WATKINS,as Guardian ofthe Person and
Estate of AIDEN GREEN,A minor.

                               Plaintiff,

          V.                                                        No. 18-CV-1297


VHS WEST SUBURBAN MEDICAL CENTER,INC.,
et al..

                       Defendants.


                    PLAINTIFF^S MOTION FOR LEAVE TO FILE HER
                              THIRD AMENDED COMPLAINT


          Now comes the Plaintiff, CHASITY WATKINS,as Guardian of the Person and Estate of

AIDEN GREEN,a minor, by and through her attorneys, COGAN & POWER,P.C., and requests

this Honorable Court enter an order granting Plaintiff leave to file her Third Amended Complaint,

as the Plaintiff has exhausted her administrative claim under the Federal Tort Claims Act, and in

support therefore, states as follows:

          1.    This matter was originally filed in the Circuit Court ofCook County,Law Division,

on May 26, 2016.

          2.    On November 1, 2017 Plaintiff was granted leave to file her Second Amended

Complaint at Law, adding certain Defendants, which included NATASHA DIAZ, M.D. and

TYLER CALLAHAN,D.O.(Exhibit "A") As Plaintiffs counsel, Michael Cogan, was aware of

the potential that Dr. Diaz and/or Dr. Callahan worked for a federally flmded clinic at the time as

alleged in the Second Amended Complaint at Law,contemporaneous with the filing ofthe Second

Amended Complaint Plaintiffs counsel also filed a Standard Claim Form 95 and served the


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appropriate Federal agency.(Exhibit"B")This was done to protect the minor's claim which may

be construed by the federal court as a claim filed under the Federal Tort Claims Act(FTCA).

       3.      On February 21, 2018 Counsel for United States filed a Notice of Removal from

the Circuit Court of Cook County to the United States District Court, Northern District of Illinois

(Exhibit"C")and a Motion to Dismiss(Exhibit"D).

       4.      As the Court correctly found Plaintiff had not yet exhausted her administrative

remedy,on February 28,2018 the Court entered an order dismissing this motion without prejudice,

stayed all discovery and continued this matter for status to June 12, 2018.(Exhibit"E")

       5.      As the Department of Health and Human Services has failed to respond to

Plaintiffs Claim Form 95 and Plaintiff has exhausted her administrative remedy. Plaintiff seeks

leave to file her Third Amended Complaint including the United States of America as a party

Defendant.


       6.      Attached hereto as Exhibit"F" is Plaintiffs proposed Third Amended Complaint.

       WHEREFORE,Plaintiff prays this Honorable Court enter an order granting her leave to

file her Third Amended Complaint, and granting the Defendants, VHS WEST SUBURBAN

MEDICAL CENTER, INC.; MARY LEUNG, R.N.; KARRI MacMILLAN, D.O., and the

UNITED STATES OF AMERICA,twenty-eight(28) days in which to answer or otherwise plead

to said Third Amended Complaint.

                                                     /s/Michael P. Cogan
                                                     One ofthe Attorneys for Plaintiff
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